Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3211   Page 1 of 28




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

 UNITED STATES OF AMERICA,

        Plaintiff,
                                           Case No. 16-20222
 v.                                        Hon. Arthur J. Tarnow

 RONALD SEGARS,

      Defendant.
 _________________________________/

                  United States’ Response Opposing
          the Defendant’s Motion for Compassionate Release


      The Defendant, Ronald Segars, was involved in the delivery and

 distribution of heroin from a drug trafficking organization to other

 distributors working in the Detroit, Michigan area. His participation in

 the drug trafficking organization allowed it to more effectively move

 and distribute a large amount of dangerous drugs throughout the

 Detroit area. In addition to committing this serious offense, Segars has

 a criminal history that includes another felony drug offense and

 multiple felony weapons offenses, and upon a search of his residence in

 this matter was found to be in possession of two firearms, including an

 assault-style rifle. Segars was charged with multiple drug and firearms


                                       1
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3212   Page 2 of 28




 offenses, and pled guilty to conspiracy to distribute heroin, in violation

 of 21 U.S.C. §§ 841 and 846, and being a felon in possession of a

 firearm, in violation of 18 U.S.C. § 922(g). On December 21, 2017, he

 was sentenced to 60 months’ of imprisonment.

    Segars began serving his current sentence on March 15, 2018. He

 now moves for compassionate release under 18 U.S.C. § 3582(c)(1)(A).

 His motion should be denied.

    First, since January 2020, the Bureau of Prisons has been preparing

 for Covid-19, implementing strict precautions to minimize the virus’s

 spread in its facilities. Following two recent directives from the

 Attorney General, the Bureau of Prisons is also assessing its entire

 prison population to determine which inmates face the most risk from

 Covid-19, pose the least danger to public safety, and can safely be

 granted home confinement. This process necessarily requires the

 Bureau of Prisons to identify the best candidates for release, ensure

 that their homes are suitable for home confinement, and arrange a way

 to quarantine each of them for 14 days. As of May 29, 2020, these

 directives have already resulted in at least 3,531 inmates being placed

 on home confinement. See BOP Covid-19 Website.


                                       2
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3213   Page 3 of 28




    Second, Segars does not qualify for compassionate release. On May 7,

 2020, Segars submitted an administrative request for compassionate

 release based on his purported risk of a severe case of Covid-19, but

 because 30 days have not yet passed, as required under 18 U.S.C.

 § 3582(c)(1)(A), the Court does not yet have jurisdiction to address his

 Covid-19-based argument until he exhausts his administrative

 remedies. Nor, in any event, does Segars satisfy the statutorily

 mandated criteria for compassionate release. “[T]he mere existence of

 Covid-19 in society and the possibility that it may spread to a particular

 prison alone cannot independently justify compassionate release.”

 United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020). Because

 § 3582(c)(1)(A) requires that release be “consistent with” the Sentencing

 Commission’s policy statements, Segar’s failure to meet the criteria in

 USSG § 1B1.13 also forecloses relief. Even assuming a defendant facing

 a heightened risk from Covid-19 might satisfy the criteria in

 § 1B1.13(1)(A) & cmt. n.1, Segars does not have a condition that places

 him at higher risk from Covid-19. And BOP’s efforts at containing the

 spread of Covid-19 have succeeded as of the date of this filing in there

 being no confirmed cases of the disease at FCI Morgantown, where


                                       3
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3214   Page 4 of 28




 Segars is incarcerated. Additionally, Segars’ offense and criminal

 history make him a danger to the community, which precludes release

 under USSG § 1B1.13(2), because he is a repeat drug offender who has

 consistently armed himself with multiple firearms despite the illegality

 of so doing. And the § 3553(a) factors—which the Court must also

 consider under § 3582(c)(1)(A)—likewise do not support release because

 for these same reasons.

                                Background

    Beginning in 2012, Ronald Miller organized a group of individuals to

 assist in the receipt and distribution of cocaine. As the organization

 continued its activities through the next several years, the receipt and

 distribution of large quantities of heroin became part of its business. In

 order for the organization to effectively store and distribute its heroin, it

 relied upon individuals to report to various safe houses where drugs

 were stored, and deliver the drugs to other individuals who then

 packaged and sold it at user level amounts. During the investigation

 into the Miller drug trafficking organization, the DEA obtained Court-

 authorized approval for telephone intercepts, and in June 2014

 intercepted calls between Segars and Ronald Miller (his father)


                                       4
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3215   Page 5 of 28




 discussing delivering “samples” of heroin to drug customers, as well as

 the quality of the heroin in the organization’s possession. Further

 investigation established that Segars regularly transported drugs from

 stash houses to customers. On July 1, 2014, a consent search was done

 of Segars’ residence in Detroit, and a loaded GP WASR-10163 39mm

 assault-style rifle, as well as a loaded 9mm pistol, were recovered. Due

 to prior felony convictions for drug trafficking and weapons possession,

 Segars was prohibited from possessing those firearms.

    Segars was charged with multiple drug and weapons crimes. He

 eventually pled guilty to conspiracy to distribute heroin and being a

 felon in possession of firearms. He was sentenced to the mandatory

 minimum term of 60 months’ of imprisonment on December 21, 2017.

    Segars began serving his prison sentence on March 15, 2018, and is

 currently incarcerated at FCI Morgantown in West Virginia. He is 48

 years old, and his projected release date is June 14, 2022. His only

 underlying medical conditions of note are essential hypertension and a

 history of a stroke, from which he has recovered. Nevertheless, Segars

 has moved for compassionate release, citing his hypertension, a history

 of a stroke, and the Covid-19 pandemic.


                                       5
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3216   Page 6 of 28




                                 Argument

 I.     The Bureau of Prisons has responded to Covid-19 by
        protecting inmates and increasing home confinement.

        A.    The Bureau of Prisons’ precautions have mitigated
              the risk from Covid-19 within its facilities.

      The Bureau of Prisons has reacted quickly to confront Covid-19’s

 spread within its facilities. For over almost a decade, the Bureau of

 Prisons has maintained a detailed protocol for responding to a

 pandemic. Consistent with that protocol, the Bureau of Prisons began

 planning for Covid-19 in January 2020.

      On March 13, 2020, the Bureau of Prisons began modifying its

 operations to implement its Covid-19 Action Plan and minimize the risk

 of Covid-19 transmission into and inside its facilities. See BOP Covid-19

 Modified Operations Website. Since then, as the worldwide crisis has

 evolved, the Bureau of Prisons has repeatedly revised its plan. To stop

 the spread of the disease, the Bureau of Prisons has restricted inmate

 movement within and between facilities. See id. Only limited group

 gathering is allowed, and social distancing is maximized. Staff and

 inmates are also issued face masks to wear in public areas. See BOP

 FAQs: Correcting Myths and Misinformation.


                                       6
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3217   Page 7 of 28




    Every newly admitted inmate is screened for Covid-19 risk factors

 and symptoms. Asymptomatic inmates with risk of exposure are placed

 in quarantine for a minimum of 14 days or until cleared by medical

 staff. Symptomatic inmates are provided with medical evaluation and

 treatment and are isolated from other inmates until testing negative for

 Covid-19 or being cleared by medical staff under the CDC’s criteria. In

 areas with sustained community transmission, all staff are screened for

 symptoms. Staff registering a temperature of 100.4 degrees Fahrenheit

 or higher are barred from the facility on that basis alone. A staff

 member with other symptoms can be placed on leave by a medical

 officer.

    Other access to the facilities has likewise been restricted.

 Contractors are only permitted access if performing essential services,

 and any contractor who requires access is screened for symptoms and

 risk factors. Social and legal visits have been suspended to limit the

 number of people entering the facility and interacting with inmates.

 But to ensure that relationships and communication are maintained

 throughout this disruption, the Bureau of Prisons has increased

 inmates’ telephone allowance to 500 minutes per month. Legal visits


                                       7
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3218   Page 8 of 28




 are permitted on a case-by-case basis after the attorney has been

 screened for infection.

    Like all other institutions, penal and otherwise, the Bureau of

 Prisons has not been able to eliminate the risks from Covid-19

 completely, despite its best efforts. But the Bureau of Prisons’ measures

 will help federal inmates remain protected from Covid-19 and ensure

 that they receive any required medical care during these difficult times.

 Efforts like these have so far succeeded in there being no confirmed

 cases of Covid-19 at FCI Morgantown where Segars is incarcerated.

       B.    The Bureau of Prisons is increasing the number of
             inmates who are granted home confinement.

    The Bureau of Prisons has also responded to Covid-19 by increasing

 the placement of federal prisoners in home confinement. New

 legislation now temporarily permits the Bureau of Prisons to “lengthen

 the maximum amount of time for which [it] is authorized to place a

 prisoner in home confinement” during the Covid-19 pandemic.

 Coronavirus Aid, Relief, and Economic Security Act (CARES Act)

 § 12003(b)(2), Pub. L. No. 116-136, 134 Stat. 281, 516 (Mar. 27, 2020).

 The Attorney General has also issued two directives, ordering the

 Bureau of Prisons to use the “various statutory authorities to grant

                                       8
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3219   Page 9 of 28




 home confinement for inmates seeking transfer in connection with the

 ongoing Covid-19 pandemic.” (03-26-2020 Directive to BOP, at 1; accord

 04-03-2020 Directive to BOP, at 1). The directives require the Bureau of

 Prisons to identify the inmates most at risk from Covid-19 and “to

 consider the totality of circumstances for each individual inmate” in

 deciding whether home confinement is appropriate. (03-26-2020

 Directive to BOP, at 1).

    The Bureau of Prisons’ efforts on this point are not hypothetical.

 Over 3,531 federal inmates have been granted home confinement since

 the Covid-19 pandemic began, and that number continues to grow. BOP

 Coronavirus FAQs. As the Attorney General’s directives have explained,

 these home-confinement decisions have required evaluating several

 criteria:

       1.) Each inmate’s age and vulnerability to Covid-19;

       2.) Whether home confinement would increase or decrease
       the inmate’s risk of contracting Covid-19; and

       3.) Whether the inmate’s release into home confinement
       would risk public safety.

 (03-26-2020 Directive to BOP; 04-03-2020 Directive to BOP).

    These criteria not only make sense, but also fit the realities of the

 Covid-19 pandemic far better than any other solution does. The Bureau
                                   9
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3220   Page 10 of 28




  of Prisons cannot open its facilities’ gates indiscriminately and unleash

  tens of thousands of convicted criminals, en masse. It must focus on the

  inmates who have the highest risk factors for Covid-19 and are least

  likely to engage in new criminal activity. This is true not just to protect

  the public generally, but to avoid the risk that a released defendant will

  bring Covid-19 back into the jail or prison system if he violates his

  terms of release or is caught committing a new crime. See 18 U.S.C.

  § 3624(g)(5); 34 U.S.C. § 60541(g)(2). The Bureau of Prisons’ home-

  confinement initiative thus appropriately focuses on the inmates who

  will most benefit from release and whose release is least risky.

     The Bureau of Prisons must also balance another important

  consideration: how likely is an inmate to abide by the CDC’s social-

  distancing protocols or other Covid-19-based restrictions on release?

  Many inmates—particularly those who have been convicted of serious

  offenses or have a lengthy criminal record—been already proven

  unwilling to abide by society’s most basic norms. It is more than

  reasonable to evaluate whether a particular inmate would adhere to

  release conditions and social-distancing protocols during the pandemic.

  And if a prisoner would be unlikely to take release conditions or Covid-


                                       10
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3221   Page 11 of 28




  19 precautions seriously, he would also be far more likely than the

  general public to contract and spread Covid-19 if released.

     Finally, the Bureau of Prisons’ home-confinement initiative allows it

  to marshal and prioritize its limited resources for the inmates and

  circumstances that are most urgent. For any inmate who is a candidate

  for home confinement, the Bureau of Prisons must first ensure that his

  proposed home-confinement location is suitable for release, does not

  place him at an even greater risk of contracting Covid-19, and does not

  place members of the public at risk from him. It must assess

  components of the release plan, including whether the inmate will have

  access to health care and other resources. It must consider myriad other

  factors, including the limited availability of transportation right now

  and the probation department’s reduced ability to supervise inmates

  who have been released. All of those decisions require channeling

  resources to the inmates who are the best candidates for release.

     Those types of system-wide resource-allocation decisions are difficult

  even in normal circumstances. That is why Congress tasked the Bureau

  of Prisons to make them and has not subjected the decisions to judicial

  review. 18 U.S.C. § 3621(b) (“Notwithstanding any other provision of


                                       11
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3222   Page 12 of 28




  law, a designation of a place of imprisonment under this subsection is

  not reviewable by any court.”); United States v. Patino, No. 18- 20451,

  2020 WL 1676766, at *6 (E.D. Mich. Apr. 6, 2020) (“[A]s a general rule,

  the Court lacks authority to direct the operations of the Bureau of

  Prisons.”). It is especially true now, given the Bureau of Prisons’

  substantial and ongoing efforts to address the Covid-19 pandemic.

  II.     The Court should deny Segars’ motion for compassionate
          release.

        Segars’ motion for a reduced sentence should be denied. A district

  court has “no inherent authority . . . to modify an otherwise valid

  sentence.” United States v. Washington, 584 F.3d 693, 700 (6th Cir.

  2009). Quite the contrary: a district court’s authority to modify a

  defendant’s sentence is “narrowly circumscribed.” United States v.

  Houston, 529 F.3d 743, 753 n.2 (6th Cir. 2008). Absent a specific

  statutory exception, a district court “may not modify a term of

  imprisonment once it has been imposed.” 18 U.S.C. § 3582(c). Those

  statutory exceptions are narrow. United States v. Ross, 245 F.3d 577,

  586 (6th Cir. 2001). Compassionate release under 18 U.S.C.

  § 3582(c)(1)(A) is equally narrow.



                                        12
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3223   Page 13 of 28




     First, compassionate release requires exhaustion. If a defendant

  moves for compassionate release, the district court may not act on the

  motion unless the defendant files it “after” either completing the

  administrative process within the Bureau of Prisons or waiting 30 days

  from when the warden at his facility received his request. 18 U.S.C.

  § 3582(c)(1)(A); United States v. Raia, 954 F.3d 594, 595–96 (3d Cir.

  2020). Because this requirement is a statutory one and not judicially

  crafted, it is mandatory. Ross v. Blake, 136 S. Ct. 1850, 1856–57 (2016);

  Island Creek Coal Co. v. Bryan, 937 F.3d 738, 751 (6th Cir. 2019).

     Second, even if a defendant exhausts, he must show “extraordinary

  and compelling reasons” for compassionate release, and release must be

  “consistent with” the Sentencing Commission’s policy statements. 18

  U.S.C. § 3582(c)(1)(A). As with the identical language in § 3582(c)(2),

  compliance with the policy statements incorporated by § 3582(c)(1)(A) is

  mandatory. See Dillon v. United States, 560 U.S. 817 (2010); United

  States v. Jackson, 751 F.3d 707, 711 (6th Cir. 2014). To qualify, a

  defendant must have a medical condition, age-related issue, family

  circumstance, or other reason that satisfies the criteria in USSG




                                       13
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3224   Page 14 of 28




  § 1B1.13(1)(A) & cmt. n.1, and he must “not [be] a danger to the safety

  of any other person or to the community,” USSG § 1B1.13(2).

     Third, even if a defendant is eligible for compassionate release, the

  district court may not grant the motion unless the factors in 18 U.S.C.

  § 3553(a) support release. 18 U.S.C. § 3582(c)(1)(A); USSG § 1B1.13. As

  at sentencing, those factors require the district court to consider the

  defendant’s history and characteristics, the seriousness of the offense,

  the need to promote respect for the law and provide just punishment for

  the offense, general and specific deterrence, and the protection of the

  public. 18 U.S.C. § 3553(a).

        A.    The Court is barred from granting release because
              Segars has not exhausted his administrative
              remedies.

     The Court must dismiss Segars’ motion, because he has not satisfied

  the exhaustion requirement for compassionate release under 18 U.S.C.

  § 3582(c)(1)(A). Until recently, only the Bureau of Prisons could move

  for compassionate release. The First Step Act of 2018 amended the

  statute, permitting defendants to move for it too. First Step Act §

  603(b), Pub. L. No. 115-319, 132 Stat. 5194, 5239 (Dec. 21, 2018).




                                       14
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3225     Page 15 of 28




     But the provision permitting a defendant-initiated motion includes

  an exhaustion requirement. Id. A district court may not grant a

  defendant’s motion for compassionate release unless the defendant files

  it “after” the earlier of (1) the defendant “fully exhaust[ing] all

  administrative rights to appeal a failure of the Bureau of Prisons to

  bring a motion on the defendant’s behalf,” or (2) “the lapse of 30 days

  from the receipt of such a request by the warden of the defendant’s

  facility.” 18 U.S.C. § 3582(c)(1)(A); United States v. Raia, 954 F.3d 594,

  595 (3d Cir. 2020).

     Statutory exhaustion requirements, like the one in § 3582(c)(1)(A),

  are mandatory. Ross v. Blake, 136 S. Ct. 1850, 1856–57 (2016). As the

  Sixth Circuit has explained, there is a “sharp divide” that “separates

  statutory from prudential exhaustion.” Island Creek Coal Co. v. Bryan,

  937 F.3d 738, 751 (6th Cir. 2019). Unlike judicially crafted

  requirements, statutory requirements may not be excused, even to

  account for “special circumstances.” Ross, 136 S. Ct. at 1856–57.

     Section 3582(c)(1)(A) is likely even a jurisdictional bar on the Court’s

  authority to consider a motion for compassionate release. The Sixth

  Circuit has labeled § 3582(c)’s limitations “jurisdiction[al].” Williams,


                                       15
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3226   Page 16 of 28




  607 F.3d at 1125. The statute “speak[s] to the power of the court rather

  than to the rights or obligations of the parties.” Landgraf v. USI Film

  Prods., 511 U.S. 244, 274 (1994). And it delineates “when, and under

  what conditions,” a court may exercise its “‘adjudicatory authority.’”

  Bowles v. Russell, 551 U.S. 205, 212–13 (2007) (quoting Eberhart v.

  United States, 546 U.S. 12, 16 (2005)). But even if § 3582(c)’s

  requirements were not considered truly jurisdictional, they would still

  be mandatory claim-processing rules that must be enforced when a

  party “properly rais[es]” them. Eberhart, 546 U.S. at 19 (2005). Thus,

  regardless of how it is labeled, § 3582(c)(1)(A)’s exhaustion requirement

  is mandatory. See Ross, 136 S. Ct. at 1856–57; United States v.

  Marshall, 954 F.3d 823, 826–29 (6th Cir. 2020).

     The only court of appeals to address this question has agreed. In

  United States v. Raia, 954 F.3d 594, 595–97 (3d Cir. 2020), the Third

  Circuit held that the Covid-19 pandemic does not permit inmates or

  district judges to bypass § 3582(c)(1)(A)’s exhaustion requirement.

  Rather, “[g]iven BOP’s shared desire for a safe and healthy prison

  environment, . . . strict compliance with § 3582(c)(1)(A)’s exhaustion

  requirement takes on added—and critical—importance.” Id. at 597.


                                       16
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3227   Page 17 of 28




     The majority of district courts to decide this question nationwide,

  including many in our district, have similarly held that a “failure to

  exhaust” under § 3582(c)(1)(A) “cannot be excused, even in light of the

  Covid-19 pandemic.” United States v. Alam, No. 15-20351, 2020 WL

  1703881, at *2–*3 (E.D. Mich. Apr. 8, 2020); accord United States v.

  Austin, No. 15-20609, 2020 WL 2507622, at *2 (E.D. Mich. May 15,

  2020); United States v. Shah, No. 16-20457, 2020 WL 1934930, at *2

  (E.D. Mich. Apr. 22, 2020); United States v. Mathews, No. 14-CR-20427-

  02, 2020 WL 1873360, at *2–*3 (E.D. Mich. Apr. 15, 2020). As one of the

  those district judges has explained, the few courts that have excused

  exhaustion under § 3582(c)(1)(A) have mistakenly relied on cases

  addressing judge-made exhaustion requirements, not statutory

  exhaustion requirements. Mathews, 2020 WL 1873360, at *2–*3.

     Congress’s reasons for § 3582(c)(1)(A)’s exhaustion requirement

  apply with even greater force during the Covid-19 pandemic. The

  Bureau of Prisons is already responding to the pandemic—not just

  through heightened safety measures, but by evaluating its entire prison

  population for home confinement. By requiring a defendant to exhaust,

  § 3582(c)(1)(A) gives the Bureau of Prisons the opportunity to gather his


                                       17
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3228   Page 18 of 28




  medical documentation and other records, evaluate his request, and

  decide in the first instance whether it justifies either compassionate

  release or some other form of relief. As the Third Circuit observed:

  “Given BOP’s shared desire for a safe and healthy prison environment,

  . . . strict compliance with § 3582(c)(1)(A)’s exhaustion requirement

  takes on added—and critical—importance.” Raia, 954 F.3d at 597.

     Segars has not yet exhausted his administrative remedies. It has not

  been 30 days since his request to the Warden made on May 7, 2020, nor

  have his administrative options been fully exhausted. Segars has

  therefore not satisfied § 3582(c)(1)(A)’s mandatory exhaustion

  requirement.

        B.    There are no extraordinary and compelling reasons to
              grant Segars compassionate release.

     Even if Segars had exhausted his administrative remedies,

  compassionate release would be improper. Compassionate release must

  be “consistent with applicable policy statements issued by the

  Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A). Congress tasked the

  Sentencing Commission with “describ[ing] what should be considered

  extraordinary and compelling reasons for [a] sentence reduction” under

  § 3582(c)(1)(A), as well as developing “the criteria to be applied and a

                                       18
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3229   Page 19 of 28




  list of specific examples” for when release is permitted. 28 U.S.C. §

  994(t).

     Because the Sentencing Commission has fulfilled Congress’s

  directive in USSG § 1B1.13, that policy statement is mandatory. Section

  3582(c)(1)(A)’s reliance on the Sentencing Commission’s policy

  statements mirrors the language governing sentence reductions under

  18 U.S.C. § 3582(c)(2) for retroactive guideline amendments. Compare

  § 3582(c)(1)(A) with § 3582(c)(2). When Congress uses the same

  language in the same statute, it must be interpreted in the same way.

  Marshall, 954 F.3d at 830. In both contexts, then, the Sentencing

  Commission’s restraints “on a district court’s sentence-reduction

  authority [are] absolute.” United States v. Jackson, 751 F.3d 707, 711

  (6th Cir. 2014); accord Dillon v. United States, 560 U.S. 817, 830 (2010).

     The First Step Act did not change that. It amended only who could

  move for compassionate release under § 3582(c)(1)(A). It did not amend

  the substantive requirements for release. United States v. Saldana, No.

  19-7057, 2020 WL 1486892, at *2–*3 (10th Cir. Mar. 26, 2020); United

  States v. Mollica, No. 2:14-CR-329, 2020 WL 1914956, at *4 (N.D. Ala.

  Apr. 20, 2020). Section 1B1.13 remains binding.


                                       19
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3230   Page 20 of 28




     Section 1B1.13 cabins compassionate release to a narrow group of

  non-dangerous defendants who are most in need. That policy statement

  limits “extraordinary and compelling reasons” to four categories: (1) the

  inmate’s medical condition; (2) the inmate’s age; (3) the inmate’s family

  circumstances; and (4) other reasons “[a]s determined by the Director of

  the Bureau of Prisons,” which the Bureau of Prisons has set forth in

  Program Statement 5050.50. USSG § 1B1.13 cmt. n.1. As the Tenth

  Circuit recently explained, a district court “lack[s] jurisdiction” to grant

  compassionate release when a defendant’s circumstances do not fall

  within those categories. Saldana, 2020 WL 1486892, at *3.

     The Covid-19 pandemic does not, by itself, qualify as the type of

  inmate-specific condition permitting compassionate release. The Bureau

  of Prisons has worked diligently to implement precautionary measures

  reducing the risk from Covid-19 to Segars and other inmates. Thus, as

  the Third Circuit has explained, “the mere existence of Covid-19 in

  society and the possibility that it may spread to a particular prison

  alone cannot independently justify compassionate release, especially

  considering BOP’s statutory role, and its extensive and professional

  efforts to curtail the virus’s spread.” Raia, 954 F.3d at 597. And there


                                       20
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3231   Page 21 of 28




  are no confirmed cases where Segars is incarcerated, FCI Morgantown,

  and so any risk of contraction is attenuated.

     Segars’ age and medical condition likewise do not satisfy the

  requirements for release in USSG § 1B1.13 cmt. n.1, even when

  considered in combination with the Covid-19 pandemic. The Centers for

  Disease Control publishes guidance for what demographic and medical

  criteria may put one at risk of a severe case of Covid-19. See

  https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

  precautions/groups-at-higher-risk.html. A review of Segars’ medical

  records shows that he has not been diagnosed with any of these

  recognized risk factors for a severe case of Covid-19. See Exhibit 1,

  Medical Records (sealed), pg. 20 (“Health Problems”). And Segars is 48

  years old, far younger than the age of 65 noted by the CDC as the age at

  which an individual’s risk of a severe case of Covid-19 is particularly

  heightened. So whether considered alone or in combination with the

  Covid-19 pandemic, Segars’ age and medical condition do not satisfy the

  initial eligibility criteria for release under USSG § 1B1.13 cmt. n.1. See

  United States v. Murphy, No. 15-20411, 2020 WL 2507619, at *5–*6

  (E.D. Mich. May 15, 2020).


                                       21
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20               PageID.3232   Page 22 of 28




     In his letter to the Court requesting compassionate release, Segars

  pointed to his medical condition of hypertension and that he had

  previously suffered a stroke, claiming that these conditions placed him

  into “a high risk category for death, according to the CDC.” (Dkt. # 415:

  Segars’ Letter). That claim is not accurate. First, though Segars did,

  indeed, have what is characterized in medical records as a “mini stroke”

  in 2018 leading to paresis (mild paralysis or muscle weakness) 1 on the

  right side of his body, as of April 2020 he is able to walk without aid of a

  cane. (Exhibit 1, Medical Records, pg. 1). And having had such a stroke

  is not noted as a Covid-19 risk factor by the CDC.

     Second, the form of hypertension with which Segars is diagnosed is

  likewise not recognized as a risk factor. Segars has been diagnosed with

  “essential (primary) hypertension.” (Exhibit 1, Medical Records, pg. 20).

  This form of hypertension refers to systemic high blood pressure

  throughout the body. https://www.mayoclinic.org/diseases-

  conditions/high-blood-pressure/symptoms-causes/syc-20373410. As

  many as 1 in 2 American adults has hypertension.

  https://millionhearts.hhs.gov/data-reports/hypertension-



     1   See https://www.healthline.com/health/paresis#definition
                                                   22
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3233   Page 23 of 28




  prevalence.html. Recent research suggests that, while hypertension is

  often present in patients with severe COVID-19 symptoms, “there is as

  yet no evidence that hypertension is related to outcomes of COVID-19.”

  (Hypertension and COVID-19, American Journal of Hypertension, April

  6, 2020,

  https://academic.oup.com/ajh/article/doi/10.1093/ajh/hpaa057/5816609).

  The CDC has not noted hypertension as a risk factor for a severe case of

  Covid-19.

     In contrast, pulmonary hypertension is classified as a “serious heart

  condition” that may put one at higher risk of a severe case of Covid-19.

  https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

  precautions/groups-at-higher-risk.html#serious-heart-conditions.

  Pulmonary hypertension is a particular form of high blood pressure in

  the heart-to-lung system, and is different than systemic high blood

  pressure. https://www.heart.org/en/health-topics/high-blood-

  pressure/the-facts-about-high-blood-pressure/pulmonary-hypertension-

  high-blood-pressure-in-the-heart-to-lung-system.

     This distinction, between pulmonary hypertension on the one hand,

  and essential primary hypertension on the other, matters. One is a


                                       23
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3234   Page 24 of 28




  recognized risk factor for a severe case of Covid-19, and the other is not.

  There is no evidence that Segars has been diagnosed with pulmonary

  hypertension. Segars medical condition is not the kind of “extraordinary

  or compelling” condition that merits compassionate release. See United

  States v. Hull, 2020 WL 2475639, *2-*3 (D.Conn. May, 13,

  2020)(denying compassionate release for a prisoner with essential

  primary hypertension, but not pulmonary hypertension).

     Finally, even if the combination of Segars’ medical conditions and the

  Covid-19 pandemic satisfied the initial criteria for eligibility in USSG

  § 1B1.13 cmt. n.1, Segars would remain ineligible for compassionate

  release because he is a danger to the community. Section 1B1.13(2) only

  permits release if a “defendant is not a danger to the safety of any other

  person or to the community, as provided in 18 U.S.C. § 3142(g).” It thus

  prohibits the release of violent offenders, including most drug dealers.

  See United States v. Stone, 608 F.3d 939, 947–48 & n.6 (6th Cir. 2010).

  An evaluation of dangerousness under § 3142(g) also requires a

  comprehensive view of community safety—“a broader construction than

  the mere danger of physical violence.” United States v. Cook, 880 F.2d

  1158, 1161 (10th Cir. 1989) (per curiam).


                                       24
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3235   Page 25 of 28




     Adhering to § 1B1.13(2) is especially important given the current

  strain on society’s first responders and the rise in certain types of crime

  during the Covid-19 pandemic. Police departments in many cities have

  been stretched to their limits as officers have either contracted Covid-19

  or been placed in quarantine. Some cities, including Detroit, have seen

  spikes in shootings and murders. Child sex predators have taken

  advantage of bored school-aged kids spending more time online. Covid-

  19-based fraud schemes have proliferated. There are real risks to public

  safety right now, and those risks will only increase if our community is

  faced with a sudden influx of convicted defendants.

     Because Segars’ release would endanger the community, § 1B1.13(2)

  prohibits reducing his sentence under § 3582(c)(1)(A). Segars is a repeat

  offender, who has consistently armed himself while trafficking drugs.

  He has proven that he is not amenable to deterrence, and there is little

  reason to believe that he will abide by the law if released.

     Segars is not eligible for compassionate release.

        C.    The factors in 18 U.S.C. § 3553(a) strongly weigh
              against compassionate release.

     Even when an inmate has shown “extraordinary and compelling

  reasons” and demonstrated that he is not dangerous, he is still not

                                       25
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3236   Page 26 of 28




  entitled to compassionate release. Before ordering relief, the Court must

  consider the factors set forth in 18 U.S.C. § 3553(a) and determine that

  release is appropriate. See United States v. Austin, No. 15-20609, 2020

  WL 2507622, at *3–*5 (E.D. Mich. May 15, 2020) (holding that the

  “[d]efendant’s circumstances do not warrant compassionate release . . .

  under 18 U.S.C. § 3553(a)”); United States v. Murphy, No. 15-20411,

  2020 WL 2507619, at *6 (E.D. Mich. May 15, 2020) (denying

  compassionate release because “the 18 U.S.C. § 3553(a) sentencing

  factors do not favor release”); see also United States v. Kincaid, 802 F.

  App’x 187, 188–89 (6th Cir. 2020) (upholding a district court’s denial of

  compassionate release based on the § 3553(a) factors). So even if the

  Court were to find Segars eligible for compassionate release, the

  § 3553(a) factors should still disqualify him for the reasons noted above:

  he is a danger, who has consistently proven that he is not amenable to

  deterrence. His continued offenses have involved weapons, including

  multiple weapons in the instant offenses.

  III. If the Court were to grant Segars’ motion, it should stay
       the release order pending any appeal by the United States.

     If the Court were inclined to grant Segars’ motion, despite the

  government’s arguments above, the government would request that the

                                       26
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3237   Page 27 of 28




  Court’s release order include two provisions. First, the Court should

  order that he be subjected to a 14-day quarantine before release.

  Second, the Court should stay its order pending any appeal by the

  government to the Sixth Circuit. More specifically, the government

  would request that if the government files a notice of appeal before the

  14-day quarantine ends, the Court’s order would automatically be

  stayed through the completion of any appeal proceedings.

                                 Conclusion

     Segars’ motion should be denied.

                                            Respectfully submitted,

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  Dated: May 29, 2020




                                       27
Case 2:16-cr-20222-AJT-RSW ECF No. 420 filed 05/29/20   PageID.3238   Page 28 of 28




                             Certificate of Service

        I certify that on May 29, 2020, I electronically filed the foregoing

  document with the Clerk of the Court for the Eastern District of

  Michigan using the ECF system, which will send notification of the

  filing to all users of record.

                                            s/ Brant Cook
                                            Assistant U.S. Attorney




                                       28
